     Case 2:11-cr-00107-WFN    ECF No. 823   filed 02/28/12   PageID.2712 Page 1 of 1




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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                )    No. CR-11-107-WFN-12
 7                                              )
                   Plaintiff,                   )    ORDER DENYING MOTION AND
 8                                              )    MODIFYING CONDITIONS OF
       v.                                       )    RELEASE
 9                                              )
       CODY LEE POOLE,                          )     Motion Denied
10                                              )         (ECF No. 820)
                   Defendant.                   )
11                                              )

12            The Defendant’s Motion to Modify (ECF No. 820) is DENIED.

13    However, the Defendant’s conditions of release are modified as

14    follows:

15            1.   Defendant may be employed if he has approval from his

16    treatment provider and Pretrial Services.

17            2.   Defendant may attend additional AA or NA meetings.

18            3.   Club membership is allowed if scheduled through Pretrial

19    Services.

20            4.   Defendant may have more scheduled visitations with family

21    as approved by Pretrial Services.

22            All other conditions of release remain in effect.

23            IT IS SO ORDERED.

24            DATED February 28, 2012.

25                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING MOTION AND MODIFYING CONDITIONS OF RELEASE - 1
